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 6                            IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8    Grady Hillis, et al.,                     )   No. CV-21-08194-PCT-SPL
                                                )
 9                                              )
                        Plaintiffs,             )   ORDER
10    vs.                                       )
                                                )
11                                              )
      National Association of Realtors, et al., )
12                                              )
                        Defendants.             )
13                                              )
                                                )
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15          Before the Court is Plaintiffs’ Motion to Extend (Doc. 65), in which they request an
16   extension of time for Plaintiffs to file Responses to the pending Motions to Dismiss (Docs.
17   59, 61, 62). Having considered this second request,
18          IT IS ORDERED that the Motion to Extend (Doc. 65) is granted. Plaintiffs shall
19   have until September 2, 2022, to file Responses to the Motions to Dismiss.
20          Dated this 29th day of August, 2022.
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22                                                    Honorable Steven P. Logan
                                                      United States District Judge
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